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  April 14, 2025

  Honorable Michael A. Shipp, U.S.D.J.
  Honorable Rukhsanah L. Singh, U.S.M.J.
  United States District Court for the District of NJ
  Clarkson S. Fisher Building & US Courthouse
  402 East State Street
  Trenton, NJ 08608

  Re:      In re: Johnson & Johnson Talcum Powder Products, Marketing, Sales
           Practices, and Products Liability Litigation
           Case No.: 3:16-md-02738-MAS-RLS

  Dear Judge Shipp and Judge Singh:

         We represent the Johnson & Johnson Defendants in the above-captioned
  matter. On October 28, 2024, this Court stayed briefing and administratively
  terminated Defendants’ motions to disqualify Andy Birchfield, Esq., and the Beasley
  Allen law firm from this litigation, as well as Defendants’ separate motion to remove
  Beasley Allen from the Plaintiffs’ Steering Committee. See ECF No. 33406. The
  Court instructed that counsel may e-file a letter requesting that these motions be
  reinstated once the litigation stay has been lifted. See id. With the stay now lifted,
  Defendants respectfully request that the motions to disqualify or remove (ECF Nos.
  28760 and 33290) be reinstated to the Court’s active docket.

           Thank you for your consideration of this matter.

                                                         Respectfully submitted,

                                                         /s/ Jessica L. Brennan

  cc:      Kristen Fournier, Esq. (via ECF)
           Leigh O’Dell, Esq. (via ECF)
           Michelle Parfitt, Esq. (via ECF)
           All Counsel (via ECF)
